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                              Record of Reported Bullying Incident

Report by: Student 1

Reported to: Jeffrey Shedd/Cathy Stankard

Date Reported: September 19, 2019 and September 23, 2019 (to Jeffrey Shedd and Nate Carpenter)


Background to Bullying Report:

On Monday, September 16, sticky notes were pasted in two girls’ bathrooms roughly two hours
apart. The notes asserted a belief that there was “a rapist” in CEHS. Some of the notes concluded
“And you know who it is.” Others suggested that school officials “kick out the rapist.” One note in
the first floor bathroom asserted that administration “is protecting him” (the rapist).

Both sets of notes were brought to the attention of administration by concerned CEHS students
within minutes of their posting. With regard to the second floor notes, where there was more
thorough camera coverage, we know that the notes were brought to the attention of the
administration by the very next student who entered the bathroom after the notes were posted. First
floor camera coverage is more limited. We believe those notes were brought to the attention of
administration within minutes of their posting.

There ensued immediately a comprehensive investigation designed to answer three questions. The
first two questions were paramount in the first week of the investigation:

       Was there a rapist in the school?
       Were there victims of a rapist in school who needed our support?

Answering the first two questions was the purpose of a Title IX investigation conducted by Title IX
coordinator Cathy Stankard, Principal Jeffrey Shedd, Assistant Principal Nathan Carpenter,
Superintendent Donna Wolfrom, and School Resource Officer David Galvan.

In the course of that investigation, it became evident that the unnamed “rapist” who was the target
of the bathroom messages was Student 1.

Last spring, the police began investigating a report concerning an incident between Student 1 and a
junior female, Student 2. A protection order has been in place from last spring until now. That
protection order was reviewed last spring in separate meetings with each student, Mr. Shedd, and a
Cape Elizabeth police officer. The order is still in place and is scheduled to expire at the end of the
current school year. However, at the request of the female student and her family, that police
investigation and case is otherwise not active. The family wishes no further steps taken. During the
course of our investigation, we met multiple times with the female student. She reports feeling safe,
feeling heard, and feeling supported by school staff. She wishes no further action taken on the
school’s part.




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That case, which has been known about since last spring, was one basis for the assertion that there
was a “rapist” in school. However, as is clear from the summary above, that case is not a fair basis
for that assertion.

In the course of the investigation, we learned of rumors that upwards of “four,” “five,” “six,” or
“eight” additional females had come forward to report rape allegations against Student 1. We heard
from multiple sources that a 10th grade female student was rumored to be “building a case” against
Student 1 We interviewed many students to attempt to ascertain the source of those rumors,
including that 10th grade female.

After many interviews, it was apparent that there were only two identifiable incidents that
supposedly formed the basis for the “rapist” assertions.

The first of those incidents allegedly took place following last year’s prom. The 10th grade female
who was the subject of those rumors concerning the prom met twice with Jeffrey Shedd and Cathy
Stankard. She very clearly denied that any rape had occurred, let alone any sexual activity at all. She
indicated that the young man in question expressed a wish for sex. She said “no.” He stopped.

The second of those incidents allegedly was the subject of a video that multiple students reported,
based on rumors, showed Student 1 dragging a female by the hair into a bathroom, where she was
raped behind a locked bathroom door. Through the investigation we were able to locate those
videos (two videos, ten seconds apiece). One of the videos depicted only a student turning off a
light. The other showed Student 1 picking up a girl from a bed and putting her on the floor, while
another female voice is heard laughing in the background. Neither video showed anybody being
dragged into a bathroom by the hair. We were able to contact the two girls who had been in the
hotel room. Neither ever attended CEHS. Both have already graduated from high school. Both say
that no rape occurred. Indeed, they reported that no sex occurred. There was an incident of Student
1 inappropriately reaching into one girl’s pants. He ultimately stopped when told to do so. What one
of the videos depict was Student 1 picking up one of the girls from a bed to encourage her to go to
her car to retrieve her vaping device.

After four days of nearly non-stop investigations and following up every source of rumor about a
“rapist” in school, we were able to conclude that there is and never was any factual basis for any
such claim against Student 1.



The Bullying Report

On September 19, Cathy Stankard and Jeffrey Shedd met with Student 1 and his mother. We met in
the Jordan Conference room in Town Hall because Student 1 was not comfortable in school in light
of the events that happened in school on Monday, September 16 and their aftermath. Student 1
remained out of school a total of seven days while we continued our investigation. He did not feel
safe returning. He finally returned to school on Friday, September 27.

In our initial meeting, Student 1 reported that he did not hear about the messages in the two girls’
bathrooms until he received an Instagram message from a girl who had been a friend. She asked if



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he was OK and then clarified for him why she was asking. She expressed hope that the rumors
about him were not true.

Student 1 was in school on Tuesday September 17. Attached is a document he prepared that showed
why he felt uncomfortable and unwelcome in school. Specifically, he went to the chorus room to eat
lunch on Tuesday, as was his custom. As soon as he arrived, the other students in the room, whom
he had previously viewed as friends, left. During chorus, a female singer near him told him that her
mom had talked to other “Cape moms” and they were advising their students not to associate with
Student 1. In another incident on Tuesday, Student 1 went to hold a door open for a female with
whom he previously had a close friendship. That female accosted him with the rumors and said he
would never get into college if the rumors were true. Her tone seemed hostile.

At the meeting with Student 1 and his mother on September 19, he expressed that the only group he
then felt comfortable with was the football team. He asked for and was granted permission to attend
practices and games with the team even though he was not yet back to school.

On September 23, Jeffrey Shedd and Nathan Carpenter met with Student 1 and his mother, again at
the Jordan Conference room because of Student 1’s continuing discomfort at returning to school.
During that meeting, the group reviewed the school’s bullying policy. Student 1’s mother expressed
a particular concern to have school officials track back, if possible, who may have posted on the
video a derogatory caption stating “this is Student 1 raping bitches.” Student 1 asked the officials to
talk to two female students with whom he has had a good relationship in the past. Carpenter
explained that we had coincidentally just spoken with one of the two girls—the one who accosted
Student 1 personally while he was attempting to hold open the door. Carpenter explained that she
was not intending to be hostile, but she was being very direct in her way about what would happen if
the rumors were true. She did not personally hope the rumors were true and was relieved to hear
from Shedd and Carpenter that they were not true.

On September 24 and 25, Mr. Shedd and Mr. Carpenter focused efforts on tracing back the source
of the video caption.

On Thursday September 26, Shedd and Student 1’s mother spoke in Shedd’s office about what had
been learned. As far as could be determined, the caption had been on the video as early as August 8,
2018—one day after the incident in the hotel that it depicted. It could not be definitely determined
who added the caption. The most likely explanation is that the caption was place on the video by
one of two young men who were taking videos that night. In other words, it was not a caption that
had recently been added with any hostile intent towards Student 1. At that meeting, Shedd also
shared that we had spoken to the other girl that Student 1 wished us to speak to and conveyed that
she was visibly relieved to learn that the “rapist” allegations had no fair factual basis. Finally, Shedd
conveyed the additional work that had been done through many follow-up witness interviews to
defuse the rumors that gave rise to the assertion that there was a “rapist” in school.

The next day, Friday, September 27, Student 1 attended school for the first time since the post-it
notes appeared in the girls’ bathrooms.




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Attach any pertinent documentation (emails, texts, photos, etc.)

See the following:

   1. A timeline with photos of students entering the second floor girls’ bathroom in the half hour
      leading up to the reporting of the notes posted in that bathroom.

   2. Photos of the notes posted in the second floor girls bathroom (note: one note was found on
      the full-length mirror; a student ripped it up and then reported it to the main office; the
      ripped-up remnants are in the investigation file)

   3. Photos of the notes as they appeared in the first floor girls’ bathroom

   4. Photos of the first floor bathroom notes

   5. There are also two ten-second videos from the early morning of August 7, 2018 that are on
      Mr. Shedd’s computer.

   6. Statement from Student about events of Tuesday, September 17 and ensuing days


Investigative Summary


Witness: Student 3

Interviewed by: Jeffrey Shedd, Nate Carpenter

Place/Date: Mr. Shedd’s office, September 16

She heard last week from Student 4 that Student 4 had heard about issues involving sexual assault by
Student 1 that members of the girls’ volleyball team know about.


Witness: Student 2

Interviewed by: Jeffrey Shedd Shedd, Nate Carpenter Carpenter

Place/Date: Mr. Shedd’s office, September 16

Student 2 says she’s all right. She has had no issue with Student 1 since the protection order was put
in place. She has heard nothing about any new situation. She knows we are here to support her. She
will come to us if she hears anything. She does not know anything about sticky notes.



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Later, Student 2 came back to Mr. Carpenter to say that Student 14, Student 34, and Student 6 were
talking in period 3 study hall about the stick notes.




Witness: Student 4

Interviewed by: Nate Carpenter, David Galvan

Place/Date: Mr. Carpenter’s office, September 16

Student 4 said she had heard about the “rapist in the building” rumors. She said she did not know
anything about the sticky notes in the girls’ bathroom or a plan to put the sticky notes up.


Witness: Student 38

Interviewed by: Nate Carpenter, David Galvan

Place/Date: Mr. Carpenter’s office, September 16

Student 38 came to the office to be sure that we had received the sticky notes from the second floor
girls bathroom. Student 38 was the student who discovered them on the mirror and gave them to
Student 39 to bring them to the main office. Mr. Carpenter assured Student 38 that Student 39 had
brought the notes to the office.


Witness: Student 14

Interviewed by: Nate Carpenter, David Galvan

Place/Date: Mr. Carpenter’s office, September 16

During period 3 study hall, Student 14 was part of a conversation with Student 34 and Student 6.
Student 6 had earlier been shown a picture of one of the second floor notes by Student 4.


Witness: Student 34

Interviewed by: Nate Carpenter, David Galvan

Place/Date: Mr. Carpenter’s office, September 16

Student 34 was part of a period 3 conversation with Student 14 and Student 6 about a picture that
Student 4 had shown Student 6 on Student 4’s phone showing one of the notes in the second floor
bathroom.



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Witness: Student 5

Interviewed by: Jeffrey Shedd

Place/Date: Mr. Shedd’s office, September 16

Student 5 did go into the second floor girl’s bathroom. She first went into the third floor bathroom
to check how she looked in the mirror but she thought she was making another girl in there nervous
so she went to the second floor. She used the mirror. There was nothing on the mirror. There were
no post-it notes.

Student 5 did not write any messages. She did not post any messages in the bathroom.

She said that Student 6 said she saw a picture of a note in the second floor bathroom that Student 4
showed her on her phone.


Witness: Student 40

Interviewed by: Nathan Carpenter, David Galvan

Date/Place: September 16, Mr. Carpenter’s Office

During Achievement Period, Student 40, Student 4, Student 37, and Student 6 were discussing the
note that Student 4 had a picture of on her phone. Student 4 sent that picture to Student 37.


Witness: Student 37

Interviewed by: Nathan Carpenter, David Galvan

Date/Place: September 16, Mr. Carpenter’s office

Student 37 was part of a conversation during AP with Student 40, Student 6, and Student 4
concerning the notes in the second floor bathroom. Student 4 texted Student 37 a picture of a note,
which Student 37 then shared with Mr. Carpenter


Witness: Student 6

Interviewed by: Nathan Carpenter, Jeffrey Shedd, David Galvan

Date/Place: Mr. Carpenter’s office, September 16



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Student 6 said that Student 4 showed her a picture of a note on a mirror in one of the bathrooms
during period 3. During period 3, Student 6, Student 34 and Student 14 talked about what Student 6
had seen on Student 4’s phone.


Witness: Student 3

Interviewed by: Nathan Carpenter, Jeffrey Shedd

Date/Place: Mr. Carpenter’s office, September 17

Student 3 has heard that six other girls have come forward to say that Student 1 has raped them. She
heard that from Student 7. She heard that there is a video showing Student 1 dragging a drunk girl
into a bathroom and that he raped her in the bathroom. Student 3 has not seen the video. Student 7
has seen it.

She says Student 7 told her that Student 8 has the video. Student 7 first saw it last spring.


Witness: Student 9

Interviewed by: Jeffrey Shedd

Date/Place: Mr. Shedd’s Office, September 17

On Monday, she did go into the second floor girl’s bathroom. She did use the mirror. She saw no
notes.

She did not write or place any notes.


Witness: Student 10

Interviewer: Jeffrey Shedd

Date/Place: Mr. Shedd’s office/September 17

Student 10 was shown the hotel video by Student 8 last spring. She recalled being told by Student 8
and Student 11 that what happened after the video scene was that the girl shown was dragged into
the bathroom and sexually assaulted. She said she recalled the video showing a girl being dragged
into the bathroom, screaming.

Student 10 has heard that Student 4 is helping one girl anonymously, but a different girl than is
shown in the video.




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Witness: Student 11

Interviewed by: Jeffrey Shedd, Nate Carpenter

Place/Date: September 17, Mr. Carpenter’s office

Student 11 said he received the video in a group chat on May 7. He says he thinks Student 12 may
have sent the video but he’s not certain. He thinks Student 12 was taking the video because of the
way part of his face appears in the screen. Student 11 said he was with Student 13 and a couple of
others at Buffalo Wild Wings last night, and he sent the video to Student 13. Student 14 told him in
a Snapchat conversation that five or six more girls are coming forward to say they have been raped
by Student 1. He does not know where that rumor comes from.


Witness: Student 8

Inteviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan

Place/Date: September 17, Mr. Carpenter’s office

Student 8 does not have any inappropriate videos except maybe one involving [name deleted,
separate issue.]


Witness: Student 14

Interviewed by: Jeffrey Shedd, Nathan Carpenter, David Galvan

Date/Place: September 17, Mr. Carpenter’s office

Student 14 Snapchatted Student 11 on September 17. She said: “Are you friends with Student 1?”
He said, “Yeah, why?” She responded “You’ll find out.” Then Student 14 referred to five other girls
who have made reports against Student 1. Student 14 heard this from Student 15 who is working
with Student 4’s mom. Student 14 also heard of five others from Student 4, who told Student 14
she’s been “working a case” on Student 1 for the last couple of months. This was a topic of
conversation after volleyball practice involving Student 2, Student 14, and Student 15. Student 15
said she doesn’t know the names of the other girls, but Student 4 asked her to let Student 2 know.
Student 15 said the other girls may be from other schools.

Student 14 heard from Student 10 that there’s a video showing a girl wearing only a shirt. The girl is
screaming for Student 1 to stop. Student 14 heard this yesterday during a fire drill from Student 10.


Witness: Student 15

Interviewed by: Jeffrey Shedd, Nate Carpenter, Donna Wolfrom, Cathy Stankard, David Galvan

Date/Place: Small Conference room, September 17

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Student 15 was driving home yesterday with some volleyball players. Student 2 was driving. Student
15 told the girls that Student 4 was “pushing a case” with a couple of other girls concerning Student
1. Student 15 is not certain who the girls are, but one might be Student 16. Student 4 and Student 17
were working on this together. Student 15 doesn’t know who is the source of the rumor that five or
six girls have come forward. She said that she heard from Student 4 that two other girls had come
forward about Student 1 last year.


Witness: Student 8

Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan

Date/Place: Mr. Shedd’s office, September 17

After being prompted about a video in a hotel room concerning Student 1, Student 8 said he did
have a copy of that video. He shared it with us and deleted it from his phone. Student 8 said he
believed it took place at the Hilton Doubletree near the mall.


Witness: Student 4 (mother also present)

Interviewed by: Nate Carpenter, Donna Wolfrom, David Galvan, Cathy Stankard

Date/Place: Small conference room, September 17

After an explanation of Title IX and the importance of coming forward, she explained that she had
heard about a video showing a girl wearing only a shirt being dragged into a bathroom by Student 1.
She has not seen the video.

Initially, she claimed that did not see or know of the sticky notes. That was the same information
she had provided to Mr. Carpenter in an earlier interview with him the previous day.

When confronted by information about the video evidence of students entering and leaving the
bathroom and by information from other students to the effect that Student 4 had been showing
pictures of at least one sticky note on her phone very shortly after the note appeared in the second
floor bathroom, Student 4 admitted that she had put up one sticky note, though she suggested that
might have been in another bathroom.

When she entered the second floor bathroom, Student 4 said the notes were already there.

Student 4 says she knows of three girls who went to guidance office to share their stories of sexual
assault. Nothing happened until Student 4 went to the police station. No investigation was begun
until Student 17 and Student 4 went to Mr. Shedd.

What was Student 4’s motivation for posting the note? Student 4 said it was to create fear. She also
said that she believed teachers “idolize” Student 1 and even gave him a model citizen award last year.



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 Witness: Student 12

 Place/Date: September 17, Mr. Shedd’s office (parents also present)

 Interviewer: Jeffrey Shedd

 The boys in the hotel room were Student 18, Student 1, and Student 12. The girls were Student 19
 and Student 20. Student 12 gave Mr. Shedd contact information for both girls.

 According to Student 12’s recollection, the girls wanted to have sex with the boys, but nobody had
 sex. Nobody was intoxicated. The girls became angry at the boys because the boys were being very
 loud and not allowing them to go to sleep.

 After watching the video of Student 1 lifting Student 20 out of the bed, Student 12 said that Student
 1 wanted her to go outside for some reason, but he wasn’t sure why. The girl wished to sleep and
 not go outside. Student 12’s best recollection was that the incident took place sometime in the
 summer of 2017.

 Student 12 said he and Student 18 were taking videos. He said he did not put on the caption. He
 said that back then this friend group used the term “rape” to mean different things that had nothing
 to do with the real definition of the term.


 Witnesses (include name, grade, date of meeting): Student 20 and Student 19

 Interviewer: Jeffrey Shedd (with Student 12 and his two parents present)

 Place/Date: Mr. Shedd’s office, September 17 (approximately 5:00 pm)

 Interviewed by: Jeffrey Shedd (with Student 12, Student 1’s older brother, and both his parents
 present)

 The two girls had secured a hotel room for the evening of August 6, 2018 for a fun evening in
 honor of Student 19’s birthday. Somehow a connection was made to one of three boys who were
 also present in the room—Student 12, Student, and Student 18. The girls arrived at the room at
 approximately 1:00 am. The boys arrived somewhere between 1:00 and 2:00. There was no drinking.
 All involved smoked from a hookah pipe. At one point, Student 1 put his hands down Student 20’s
 pants. He clearly wanted sex with her. She did not want to have sex. He did stop. Ultimaely, the two
 girls went into the bathroom to sleep because of the sexual approaches by both brothers and
 because they boys were being loud. The girls just wanted to sleep. They remained in the bathtub
 until the older brother came in to apologize and invited the girls to sleep in one of the beds. For the
 rest of the night, the girls slept in one bed, the boys in the other.

 After reviewing the video where Student 1 is shown picking up Student 20, Student 20 explained
 what it was showing. Student 1 was attempting to cajole Student 20 to get up and get her Juul vaping
 device from her car. She just wanted to sleep. Student 1 picked her up, but she climbed back into the
 bed after the scene shown in the video. She was never dragged to the bathroom. She was not raped.

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 Nobody had sex that night. The girls left the room shortly after 5:00 in the morning because they
 had to get ready to go to work.

 Student 19 confirmed Student 20’s account.



 Witness: Student 2

 Interviewed by: Jeffrey Shedd, Cathy Stankard

 Date/Place: September 18, Mr. Shedd’s office

 Ms. Stankard inquired of Student 2 whether she understood the protection order was still in force or
 not. She said she thought so.

 Ms. Stankard wanted to be sure that Student 2 and Student 1 were in no classes together. She said
 they were not.

 When asked if there was any other help the school could be providing Student 2, she said no, she
 does see Ms. Nadeau, and she feels supported.

 Student 2 reported she is trying to stay out of the rumor mill.


 Witness: Student 16

 Interviewed by: Jeffrey Shedd, Cathy Stankard

 Date/Place: Mr. Shedd’s office, September 18

 When asked by Ms. Stankard whether Student 16 has ever felt pressured or taken advantage of for
 anything sexual, Student 16 said yes, but never by a student in school. When Ms. Stankard said there
 was a rumor about something happening prom night with Student 1, Student 16 said, “Most of that
 was a rumor…there was some verbal pressure but nothing physical.” Student 16 said she said “no”
 to the verbal pressure and that was the end of it. Ms. Stankard asked if she had any guesses why that
 might have gotten into rumor mill. Student 16 said maybe because of his reputation, which she only
 heard about afterwards. Now she’s not certain what to believe about Student 1, and she has heard
 him tell conflicting stories from him about a video she’s heard about but hasn’t seen. At first,
 Student 1 said he was good friends with the girls and there only one or two other friends there, but
 then he said he wasn’t friends with them and there were five or six others there. He’s said conflicting
 things about his relationship with Student 2, too.

 After Student 16 heard about the post-it notes in the bathrooms, she texted him to ask, “Are you
 safe?” Since then she hasn’t had much contact with Student 1. She hopes the rumors are not true.




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 Witness (include name, grade, date of meeting): Student 1

 Date/Place of Interview: Thursday, September 19, Jordan Conference room, 4:30 pm

 Interviewers: Jeffrey Shedd, Cathy Stankard

 After viewing the videos, Student 1 said the first one showed him picking up one of the girls to coax
 her to get her vaping device. He thought both videos were taken by Student 18. He said that none of
 the students in the hotel room had been drinking. He said the girl he was picking up was fully
 conscious. He acknowledged he wanted to have sex with her and put his hand down her pants at
 one point. When she indicated she did not want to have sex with him, he stopped. The scene in the
 video had nothing to do with his efforts to have sex; it was about trying to get her to get her Juul
 device, which was outside in her car.

 Student 1 reported not hearing about the sticky notes in the girls’ bathrooms until after he came
 home from football practice Monday afternoon. At that point he saw a text from Student 16 asking
 if he was OK. He looked on his Snapchat account and saw a message from Student 21 that she had
 heard a rumor that four girls in four different schools had come forward to say he had sexually
 attacked them.

 Student 1 went to school on Tuesday. At some point he saw an Instagram message from Student 41,
 a friend of his, saying that she had overheard two boys talking, saying that they wanted to see
 Student 1 in jail.

 Also that day, Student 22, for whom he was trying to hold open a door, told him with hostility that
 he might have been able to finesse one charge (Student 2) but he wouldn’t be able to this time
 because four girls had come forward to accuse him. She sarcastically wished him good luck with
 college.

 Late that day, Student 1 went to eat lunch in the chorus room, which was part of his routine. Within
 one minute of his arrival, the other students in the room at the time left.

 The only person that seemed to still be his friend was Student 23.

 Sometime Tuesday, Student 16 also sent a screenshop of an online conversation she had with
 Student 24 that day in which Student 24 indicated that she knew Student 16 had been raped on
 prom night. Student 16 told Student 24 that was not true.

 Student 1 also recalled his confrontation with Student 25 last spring after the protection order
 concerning the Student 2 matter. Student 25 told him he was slime. She said similar things more
 than once. He reported that to Mr. Shedd.


 Witness: Student 25

 Interviewed by: Nate Carpenter, Jeffrey Shedd

 Date/Place: Mr. Carpenter’s office, September 23

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 Student 25 said she heard about the notes in the second floor bathroom that morning. She said she
 was quite amused by them. She said, “I hate that kid. I want him out of here.” When asked why, she
 said because she was friends with Student 2. Student 25 denied having anything to do with the notes.


 Witness: Student 7

 Interviewed by: Jeffrey Shedd, Nathan Carpenter

 Date/Place: September 23, Mr. Carpenter’s office

 Regarding the Snapchat post that Student 7 sent with an assertion that six other girls had come
 forward with allegations of rape, Student 7 had heard that but was not aware of any specific
 individuals. We explained to Student 7 what we had learned, particularly about a video and another
 rumor. Student 7 had no specific information to add. Her Snapchat was based on unspecific things
 she had heard.



 Witness: Student 22

 Interviewed by: Nate Carpenter, Jeffrey Shedd

 Date/Place: Mr. Carpenter’s office, September 23

 Student 22 said she had been close to Student 2 when they were younger, but they no longer hung
 out. She said she had been friends with Student 1 since Middle School.

 Student 22 explained that she had confronted Student 1 on Tuesday, September 16 because she
 wanted to know if the rumors she was hearing about multiple people coming forward to accuse
 Student 1 or rape or sexual assault were true. She had heard about five other girls coming forward.
 She told him that if it were true, then he’d be in trouble and probably wouldn’t get into college. If
 the rumors were not true, then he would need help.

 Student 22 said that Student 16 told her that Student 16 was concerned about Student 1 committing
 suicide. As far as she knew, this worry was based solely on speculation by Student 16.

 When told by Mr. Carpenter and Mr. Shedd that there were no new cases at all except for the
 Student 2 case that was in the hands of the police and Student 2’s family, Student 22 said she looked
 at Student 1 “like a brother.” She said she would welcome him back to school.


 Witness: Student 26

 Interviewed by: Jeffrey Shedd, Nate Carpenter

 Date/Place: Mr. Carpenter’s office, September 23

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 Student 26 was one of a group of four girls—Student 26, Student 27, Student 28, and Student 29—
 who reported the first floor bathroom notes to the main office. Mr. Shedd asked Ms. Thomas to go
 down with the girls, take pictures of those notes, and retrieve them and then look in the other
 bathrooms for other notes.

 Student 26 believed that Student 30 was the first person to find the second floor bathroom notes.


 Witness: Student 29

 Interviewed by: Jeffrey Shedd, Nate Carpenter

 Date/Place: Mr. Carpenter’s office, September 23

 Student 15 explained that she was the first person to find the first floor bathroom notes. She was
 going to use the bathroom. There was nobody else in there at the time. She spoke to Student 26,
 Student 27, and Student 28 and they went to the main office together to report these notes.


 Witness: Student

 Interviewed by: Jeffrey Shedd, Nate Carpenter (with Student 1’s mother present)

 Date/Place: Jordan Conference room, September 23 late afternoon

 Student 1 reported that football practice and the game went well last week. In response to a question
 from Mr. Shedd concerning the bullying policy, Student 1 reported that he believes that his status as
 one of a small number of African-American students at the school may be a factor in his being
 targeted as a rapist or for the spreading of the rumor mill. He recalled a concern the year before
 regarding another African-American student. Mr. Carpenter inquired about details of that incident,
 but Student 1 did not recall beyond the name of the student.

 Student 1 said he had been friends with Student 22 and described the confrontation with her.

 He says that Student 23 is the only student he currently trusts.

 Student 1 related the incident the previous Tuesday in which within one minute of his sitting down
 in the chorus room for lunch, other students who had been there left, leaving him alone in the
 room. He also described the incident in which Student 15 told him during chorus that “Cape moms”
 were warning one another not to have their students associate with Student 1. He knew that Ms. Lee
 did not hear the comment, although other students nearby did.

 Student 1 suspected Student 25 might have been involved in posting the post-it notes, but just based
 on his past problems with her, not based on any knowledge. He repeated that Student 25 had made
 repeated comments to him last spring. The comments continued until he brought them to the
 attention of Mr. Shedd, and then they stopped.



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 Student 1 asked Mr. Shedd and Mr. Carpenter to follow up with Student 16 and Student 22 and to
 do what we could to set them straight on the rumors. We told him we had just talked to Student 22
 that morning but would follow up with Student 16.

 Student 1’s mother expressed concern about the source of the caption and requested us to track it
 back as much as we could to determine when and by whom it was added to the video.


 Witness: Student 31

 Interviewed by: Jeffrey Shedd

 Date/Place of Interview: September 24, Mr. Shedd’s office

 Student 31 said he had seen the videos but never had a copy of them. He had first seen the videos
 two weeks ago. When asked how he took the caption when he saw the video, he said he took it as a
 joke, even though he knew some might question his friend group’s use of language that way.


 Witness: Student 11

 Interviewed by: Jeffrey Shedd

 Date/Place of Interview: September 24, Mr. Shedd’s office

 Student 11 had a copy of the video until Mr. Shedd and Mr. Carpenter asked him to send them the
 video and then delete it from his phone. He had received the video in a group Snapchat on May 7,
 2019. He said he did not know who added the caption, but he would assume it was on the video
 from the beginning. If it was added later, the caption would have been sharper than the video image.
 He did not believe the caption was intended seriously. That term was frequently used non-literally in
 his friend group. For example, if they were playing pickup basketball and one friend dunked over
 another, they would say the defender had been “raped.” The group frequently shared with one
 another videos that they meant to be funny.


 Witness: Student 8

 Interviewed by: Jeffrey Shedd

 Date/Place of Interview: Mr. Shedd’s office, September 24

 Student 8 recalled first seeing the videos at Student 18’s house the day after the events in the hotel
 room. He guesses Student 12 put the caption on because he appeared to be the person who took the
 videos. He recalls seeing the caption on the videos the first time he saw them. Student 8 received
 the videos through a Snapchat group message. He believes that happened last April (2019). Student
 8 recalls showing the videos to Student 10 and Student 32 last spring.




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 Witness: Student 30

 Interviewed by: Nate Carpenter, Jeffrey Shedd

 Date/Place of Interview: Mr. Carpenter’s office, September 24

 Student 30 heard from Student 33 that there was a note on the long mirror in the girl’s second floor
 bathroom. This was apparently after the other second floor notes had been reported to the office.
 The long mirror one apparently got missed. At first Student 30 did not see it even though Student
 33 had told here where it was. After consulting with a friend of hers, Student 30 tore up the note but
 shortly thereafter reported it to the main office.



 Witness: Student 16

 Interviewed by: Jeffrey Shedd, Cathy Stankard

 Date/Place of Interview: September 25, Mr. Shedd’s office

 This was the second interview with Student 16. Ms. Stankard asked how Student 16 was feeling at
 that time about the post-it notes and Student 1 situation. Student 16 said that she he’d heard so
 much information that her attitude was that he was innocent until proven guilty. She had heard that
 4 people, 6 people, and 8 people had come forward with accusations of sexual assault against
 Student 1.

 She was greatly relieved after hearing from Mr. Shedd and Ms. Stankard the truth about the hotel
 video and that there was no other substance to any of the rumors, putting aside the Student 2 issue,
 which was in the hands of the police and which the family no longer wished to have pursued.


 Witness: Student 10

 Interviewed by: Jeffrey Shedd

 Date/Place: Mr. Shedd’s office, September 25

 Mr. Shedd explained what the investigation had revealed about the video since the first time he
 spoke with Student 10. He asked if Student 10 had heard anything else. She said she heard that
 Student 4’s mom had been contacted by multiple girls, but she is supporting them anonymously. Mr.
 Shedd said he was pretty sure that was not the case given all the information revealed in the
 investigation.




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 Witness: Student 15

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Place: Small conference room, September 26

 Student 15 said it slipped her mouth when she was talking to Student 1 in chorus about what her
 mother had heard from other mothers. Sometimes she doesn’t think before she speaks.

 Student 15 has heard from a couple of people that they think the school is protecting Student 1
 because he is charming. Yesterday Student 4 told her she thought it would look really bad for the
 school if they had to punish Student 1 because he was a really good athlete, because he was well
 liked, and because he is African-American.



 Witness: Student 34

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Place: September 26, Small Conference room

 Student 34 has heard from Student 4 that Student 4 believes the school is protecting Student 1
 because he is African-American.


 Witness: Student 2

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Place: September 26, Small conference room

 Student 2 says Student 4 has asked her more than once to talk to a newspaper reporter. Student 2
 says she does not want to. She does not want to get sucked into this. She thinks the school is
 handling this very well and taking the concerns seriously.

 Student 2 feels safe.


 Witness: Student 5

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Place: September 26, Small conference room

 Student 5 did not see a note when she was in the second floor bathroom. She was using the mirrors.




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 Student 5 did not write the notes, but she knows who did. She said that Student 35 told her that
 Student 25 and Student 2 wrote the notes. Student 35 told her the same day Mr. Shedd spoke to her
 the first time that Student 35 had been in the bathroom with Student 2 and Student 25. According to
 Student 35, they were writing the notes in the first floor bathroom.


 Witness: Student 35

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Data/Place: September 26, Small conference room

 Student 35 did not write any of the notes. She does not know who did.


 Witness: Student 9

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Place: September 26, Small conference room

 Student 9 had gone into the second floor bathroom to blow her nose. She stood in front of the
 mirrors. She saw no notes. She did not write or post any notes.


 Witness: Student 35

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Student 35 was in the same advisory as Student 2 and Student 25 in Ms. O’Brien’s room. She saw
 Student 2 and Student 25 writing notes—about ten notes in pencil. Later, on her way to the band
 room, she saw the notes in the bathroom.

 Student 14 was also in the advisory, and Student 36 was, too. They were not writing notes.


 Witness: Student 36

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Location: Small conference room, September 26

 Student 36 saw notes being written during advisory in Ms. O’Brien’s room. She saw Student 2 and
 Student 25 writing notes. She saw the notes. They said there’s a rapist in our school. She has heard
 of three assaults involving two Cape students—1 boy and 1 girl, but does not know who they are.




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 Student 36 has been a victim. Would be willing to see Ms. Nadeau to talk about it. Right now, she
 wants to return to class. Does not want to share name of other Cape student involved. Promises to
 reach out to Ms. Nadeau today. Mr. Shedd says he will alert Ms. Nadeau to expect to hear from her.


 Witness: Student 14

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Location: Small conference room, September 26

 Student 14 saw Student 25 and Student 35 writing the notes in Ms. O’Brien’s advisory. Student 2 did
 not write any notes. Student 25 was 100% writing notes. Believes Student 35 was.

 Student 14 and Student 2 were told by Student 4 in library conversation that she knows of five
 different people assaulted by two different seniors in the high school. She has a good idea about one
 or two other people.


 Witness: Student 25

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Place: Small Conference room, September 26

 Student 25 admits writing several notes that she later put in the first floor girls bathroom. She says
 she was angry because she’s friends with Student 2. Student 2 did not write any notes. Student 35 did
 write a couple of notes. She had heard the rumors. Her intention was to bring attention to the issue.

 She did not write the message, “the school is protecting him.” She does not know who did.

 Says they were hyped up by the notes on the second floor and wanted to make sure the word got
 out.

 Student 25 doesn’t feel good about what she did. She believes us now that we’ve corrected all the
 rumors.


 Witness: Student 2

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Location: September 26, Small Conference room

 She knows that Student 35 wrote post-it notes. Student 2 had told them about the second floor
 notes. Student 4 had approached her to encourage her to speak to a reporter. Student 2 had no
 interest in that.



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 Student 2 did not write any notes.


 Witness: Student 15

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom

 Date/Location: September 26, Small conference room

 Student 15 had heard about hotel room rape video. She did not know about the notes until later.

 Last year Student 4 and Student 17 were investigating about another student, not sure who.


 Witness: Student 4

 Interviewed by: Jeffrey Shedd, Nate Carpenter, David Galvan, Donna Wolfrom (mother also
 present)

 Date/Location: September 26, Small conference room

 Student 4’s hope was to cause fear. Student 4 wrote and posted one of the notes in the second floor
 bathroom. Another student wrote and posted the other notes, but it was Student 4’s idea. She does
 not want to say who that other person is, because she does not have supportive parents. Student 4
 will talk to that other student to see if she is willing to come forward.




 Conclusions of Administrator:

 A. The Bullying Policy

 “Bullying” is defined in policy JICK is defined as

        including but not limited to a pattern of written, oral or electronic expression….directed at a student….that:

        B. Interferes with the rights of a student by:

           1. Creating an intimidating or hostile educational environment for the student; or

           2. Intefering with the student’s academic performance or ability to participate in or benefit from the
              services, activities or privileges provided by the school; or

        C. Is based on:

           a. A student’s actual or perceived characteristics…including race….and that has the effect described in
              subparagraph A or B above.

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 B. Factual Conclusions

    1. The notes written and posted in the second floor bathroom were the responsibility of
       Student 4. She has admitted her responsibility, though she claims to have written and posted
       only one of the five second floor notes.

    2. Given the video evidence, it is more likely than not that Student 4 posted at least four of the
       notes in the second floor bathroom, possibly excluding the note later noticed by two other
       girls on the full length mirror. The basis for this conclusion is the video evidence of the
       comings and goings into and out of the second floor bathroom. The timeline is such that the
       two girls who enter the bathroom before Student 4 both used the mirror. Neither noticed
       any notes that would have been very obvious. Then Student 4 enters the bathroom. She is in
       the bathroom alone for a few minutes. The first girl to enter the bathroom after Student 4
       leaves is the girl who notices and arranges for the notes to be reported to the main office.

    3. Student 4’s self-described intention was to instill fear in the school community and to alert
       the school community because she does not believe the school’s administrators, counselors
       or social workers take the issue of sexual assault seriously.

    4. Student 4 may have believed the rumors she heard about unreported sexual assaults by
       Student. That is not clear. But she had no factual basis for believing them, and she never
       brought any of those rumors to the attention of any school staff member before posting
       notes accusing a student of being a rapist despite sharing with a number of students that she
       was aware of claims of sexual assault by Student by other unnamed and undisclosed
       students.

    5. The posting of the notes and passing along of the rumors constitute a pattern of oral and
       written communications under policy JICK.

    6. That behavior constituting a pattern of oral and written communications was compounded
       by Student 4’s assertion to multiple people that Student was being protected by the school
       administration because he is African-American, among other things. This statement is wholly
       unfounded and suggests that all African-American students at CEHS are held to a lower
       standard of behavior than their non-African-American peers.

    7. Although Student 4 was not directly involved in the posting of notes in the first floor
       bathroom, those notes would not have been posted but for the second floor bathroom notes
       for which Student 4 is responsible.

    8. The posting of the notes has caused Student to feel unsafe in and to miss seven days of
       school. He has been ostracized and had friendships put at risk as a direct result of Student
       4’s actions. This impact both created an intimidating and hostile environment and deprived
       him totally of access to an education for seven days, during which he felt uncomfortable and
       unsafe returning to school.




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    9. Student 4’s actions have caused harm to survivors of sexual assault who have been
       repeatedly been called in to answer questions connected with this investigation.

    10. The actions of Student 25 and Student 35 have similarly put at risk another student’s
        reputation, solely based on unfounded rumors; have undermined or threatened trusting
        relationships between school officials and students; and have triggered survivors of sexual
        assault.

    11. Student 25 and Student 35 have both evidenced genuine remorse for their actions.



 Discussion with student bullied/options reviewed/tentative plan for next step (include date of
 meeting) to address safety concerns:

 Mr. Shedd met with Student 1 on three occasions since his return to school to check on the
 student’s safety and comfort in school. The student reported that school is going well and he feels
 comfortable. Mr. Shedd reiterated that we are her to support him and our doors are open. We
 encouraged him to come forward if he experiences any issues and he promised he would do that.



 Summary of contact with parent of student bullied before administrative action taken (indicate
 parent name, relationship, and date of contact):


 Mr. Shedd met with Student 1 and his mother on October 4 after an exchange of emails and phone
 calls regarding next steps. Mr. Shedd shared a letter summarizing the steps we have taken and will
 continue to take to protect his safety and the safety of all students. Mr. Shedd shared that three
 students will be held accountable through disciplinary and educational consequences for their
 actions summarized in this document.




 Summary of action taken (date of meeting with student engaged in bullying behavior)

 Mr. Shedd and Mr. Carpenter met with Students 4, 25, and 35 regarding disciplinary and educational
 consequences that are detailed in three letters attached to this report. In the case of Students 25 and
 35, parents of those students were contacted by phone and invited to attend these meetings. They
 declined, and a copy of the letter has been emailed to each parent after a phone conversation
 regarding the consequences.

 Mr. Shedd and Mr. Carpenter and Officer Galvan met with Student 4 and her mother. We reviewed
 the letter regarding consequences and answered questions they raised.



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 Follow-up action

 We will be checking in with students 1, 4, 25, and 35 to be aware of how transitions back to school
 are going. We will be organizing the educational session referred to in the consequences letters sent
 to students 4, 25, and 35.


 Date and nature of planned follow-up:

 We will meet speak at least once next week with each of these students and offer any needed
 support.


 Superintendent contact summary (include date):

 On October 4, Mr. Shedd spoke with the Superintendent to inform her of the meetings with
 Students 4, 25, and 35.

 Follow-up notes:




 Administrator Signature:                                   Date:




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